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Ministry of Justice, People’s Republic of China
No. 33, PingAnLi West Ave., Xicheng District, Beijing 100035, China
Tel: +86 10 5560 4537 Fax: +86 10 5560 4538

To:

Lynn Fitch,

Office of the Attorney General
Post Office Box 220

550 High Street, Suite 1200
Jackson, Mississippi 39205
U.S.A.

SOUTHERN DISTRICT OF MOSISSIPEN ]
FILGI

CC to:

United States District Court for the Southern District of Mississippi Southern Division
501 E Court St Ste 2.500, Jackson

Mississippi 39205

U.S.A.

Tel: 001 601 608 4000

Beijing, January 24, 2022
Your Ref. No. 1:20-cv-00168
Our Ref. No. 2022/SXH/10

The requests for service of documents have been received.

It is regretful to return the requests because they do not comply with the provisions of the

Hague Convention on the Service abroad of Judicial and Extrajudicial Documents in Civil or
Commercial Matters (hereinafter referred to as the Convention), and the Declaration made

by the People's Republic of China at its accession. The specific reasons for the return are as
follows (the item/items marked with X):

( ) The address of the person to be served upon is not sufficiently provided
(Paragraph 2 of Article 1).

( ) The form of the Request does not conform to the model annexed to the
Convention (Paragraph1 of Article 1).

( ) The terms in the Request are not written in the languages specified by the
Convention (Article 7).

( ) The Request and the documents to be served are not furnished in duplicate
(Paragraph 2 of Article 3).

( ) The documents to be served are not written in, or translated into Chinese
(Article 5).
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( ) The case relating to the request does not fall into the scope of the Convention
(Paragraph 1 of Article 1).

(X) The execution of the request would infringe the sovereignty or security of the
People's Republic of China (Article 13).

( ) Others:

The Ministry takes this opportunity to reaffirm that the defendants specified in your requests
enjoy sovereignty immunity and are not subject to any foreign jurisdiction.

Min i of Justice
Peo 2 hi 5

fd Rit a
Internatio ce Canter

Contact: Li Zhiying (Ms.)

Tel: +86 10 6309 8240

Fax: +86 10 5560 4538

Email: ivylee319@vip.sina.com

* Enclosures: Documents submitted by the requesting party
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Gyn e itch

ATTORNEY GENERAL
CONSUMER PROTECTION

August 17, 2021
Dear Colleagues:

Enclosed, please find eleven Requests for service pursuant to Article 5 of the 1965
Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or
Commercial Matters (Hague Service Convention).

Please take note that the United States Government has designated as Forwarding
Authorities (Article 3(1)) “any court official, any attorney, or any other person or entity
authorized by the rules of the court. The United States Central Authority plays no role in
service requests involving persons or parties located abroad in private litigation matters
and such requests are transmitted by the forwarding authorities in the United States
directly to the requested State.”

I look forward to your response regarding these Requests.

Respectfully,

- ee a i. zi
Seth Shannon
Special Assistant Attorney General

